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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


In re: JOB H VAN LEUSDEN                     §       Case No. :12-bk-12493
                                             §
                                             §
              Debtor(s)                      §
          CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


FREDERICK L REIGLE, Chapter 13 Trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as
follows:
       1) The case was filed on 03/15/2012.

       2) The plan was confirmed on 07/11/2013.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on 07/19/2012.

       5) The case was completed on 01/17/2017.

       6) Number of months from filing or conversion to last payment: 58.

       7) Number of months case was pending: 61.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $154,472.64.

       10) Amount of unsecured claims discharged without full payment: $442,864.23.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




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Receipts:
       Total paid by or on behalf of the debtor(s)         $ 177,254.49
       Less amount refunded to debtor(s)                          $ 0.00
NET RECEIPTS                                                                     $ 177,254.49



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                 $ 32,596.50
       Court Costs                                                 $ 0.00
       Trustee Expenses & Compensation                       $ 14,421.16
       Other                                                       $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                  $ 47,017.66

Attorney fees paid and disclosed by debtor(s):                $ 2,403.50



Scheduled Creditors:
Creditor                                        Claim        Claim       Claim     Principal    Interest
Name                               Class    Scheduled     Asserted    Allowed          Paid        Paid
WELLS FARGO BANK                   Uns      24,656.63    34,286.89   34,286.89    14,451.03        0.00
AMERICAN HONDA FINANCE CORP        Sec      10,486.79     8,252.88        0.00         0.00        0.00
SUBURBAN PROPANE                   Uns          90.00       530.00      530.00       223.42        0.00
AMERICAN INFOSOURCE LP             Uns      10,247.86    12,234.63   12,234.63     5,156.51        0.00
AMERICAN INFOSOURCE LP             Uns       2,952.00     3,722.83    3,722.83     1,569.05        0.00
BERKS COUNTY TAX CLAIM             Sec       7,243.93     7,298.92    7,298.92     7,298.92        0.00
MERRICK BANK                       Uns      22,560.00    19,808.78   19,808.78     8,348.80        0.00
DITECH FINANCIAL LLC               Sec      98,475.00   121,335.05        0.00         0.00        0.00
M&T CREDIT CORPORATION             Uns       1,200.00     1,286.95    1,286.95       542.52        0.00
CITY OF READING                    Sec         975.64     1,185.26    1,185.26     1,185.26        0.00
CITY OF READING                    Sec       1,684.91     3,050.51    3,050.51     3,050.51        0.00
CITY OF READING                    Sec         255.09       394.09      394.09       394.09        0.00
CITY OF READING                    Sec         963.53       155.09      155.09       155.09        0.00
CITY OF READING                    Sec           0.00       274.59      274.59       274.59        0.00
AMERICAN INFOSOURCE LP             Uns         729.93       715.79      715.79       301.73        0.00
AMERICAN INFOSOURCE LP             Uns         861.08       837.21      837.21       352.94        0.00
CHARLES J PHILLIPS ESQ             Lgl           0.00    35,000.00   32,596.50    32,596.50        0.00
ARCADIA RECOVERY BUREAU            Pri           0.00       390.50      390.50       390.50        0.00



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Scheduled Creditors:
Creditor                                        Claim        Claim       Claim    Principal   Interest
Name                               Class    Scheduled     Asserted    Allowed         Paid       Paid
BECKET & LEE, LLP                  Uns       2,556.00     2,530.57    2,530.57    1,066.56       0.00
PENNYMAC LOAN SERVICES LLC         Sec      42,224.24    45,772.00    4,570.17    3,792.52       0.00
DITECH FINANCIAL LLC               Sec      79,406.00    79,907.76    2,531.31    2,531.31       0.00
PORTFOLIO RECOVERY                 Uns      27,800.00    27,706.38   27,706.38   11,677.41       0.00
PORTFOLIO RECOVERY                 Uns       7,200.00     7,149.02    7,149.02    3,013.12       0.00
FEDERAL NATL MG ASSN/FANNIE        Sec      59,657.39    54,500.00    5,167.10    5,167.10       0.00
FEDERAL NATL MG ASSN/FANNIE        Sec      47,843.85    38,000.00    5,217.08    5,217.08       0.00
NATIONSTAR MORTGAGE LLC            Sec      46,227.75    34,000.00    4,290.13    4,290.13       0.00
DITECH FINANCIAL LLC               Sec      84,593.00   100,015.38        0.00        0.00       0.00
JP MORGAN CHASE BANK NA            Sec     129,073.00   123,520.47        0.00        0.00       0.00
FEDERAL NATL MG ASSN/FANNIE        Sec      94,750.64   101,327.48    8,829.41    8,829.41       0.00
SOVEREIGN BANK                     Uns      62,024.40    59,602.30   59,602.30   25,120.64       0.00
CITY OF READING                    Sec         255.09       393.77      393.77      393.77       0.00
CITY OF READING                    Sec           0.00       572.55        0.00        0.00       0.00
CITY OF READING                    Sec           0.00       572.55        0.00        0.00       0.00
WELLS FARGO BANK NA                Sec      26,582.55    29,943.16    6,227.50    6,227.50       0.00
DITECH FINANCIAL LLC               Sec     107,509.97   106,802.18        0.00        0.00       0.00
M&T CREDIT CORPORATION             Sec      50,011.04    49,770.21        0.00        0.00       0.00
TLM FINANCIAL, LLC                 Sec      30,000.00          NA          NA         0.00       0.00
ACCOUNT RECOVERY                   Pri         390.50          NA          NA         0.00       0.00
CITY OF READING                    Pri         943.15          NA          NA         0.00       0.00
CAPITAL ONE                        Uns      10,100.00          NA          NA         0.00       0.00
CENTRAL PORTFOLIO CONTROL          Uns       3,040.92          NA          NA         0.00       0.00
CHASE BANK                         Uns      13,500.00          NA          NA         0.00       0.00
DEANNA YODER                       Uns     250,000.00          NA          NA         0.00       0.00
DEPT OF THE TREASURY               Uns      38,047.68          NA          NA         0.00       0.00
HOME DEPOT CREDIT SERVICES         Uns       6,100.00          NA          NA         0.00       0.00
NORTH SHORE AGENCY                 Uns         730.00          NA          NA         0.00       0.00
PIONEER CREDIT RECOVERY INC.       Uns       1,320.68          NA          NA         0.00       0.00
PRO-CONSULTING SERVICES, INC.      Uns       6,092.37          NA          NA         0.00       0.00
SOTNELEIGH RECOVERY ASSOC.,        Uns       2,695.34          NA          NA         0.00       0.00
FEDERAL NATL MG ASSN/FANNIE        Sec      55,146.75    40,000.00        0.00        0.00       0.00
FEDERAL NATL MG ASSN/FANNIE        Uns           0.00    21,864.94   21,864.94    9,215.32       0.00




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Summary of Disbursements to Creditors:

                                               Claim            Principal         Interest
                                               Allowed          Paid              Paid
Secured Payments:
       Mortgage Ongoing                             $ 0.00           $ 0.00            $ 0.00
       Mortgage Arrearage                           $ 0.00           $ 0.00            $ 0.00
       Debt Secured by Vehicle                      $ 0.00           $ 0.00            $ 0.00
       All Other Secured                      $ 49,584.93      $ 48,807.28             $ 0.00
TOTAL SECURED:                                $ 49,584.93      $ 48,807.28             $ 0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                  $ 0.00           $ 0.00            $ 0.00
        Domestic Support Ongoing                    $ 0.00           $ 0.00            $ 0.00
        All Other Priority                       $ 390.50         $ 390.50             $ 0.00
TOTAL PRIORITY:                                  $ 390.50         $ 390.50             $ 0.00

GENERAL UNSECURED PAYMENTS:                  $ 192,276.29      $ 81,039.05             $ 0.00



Disbursements:

       Expenses of Administration             $ 47,017.66
       Disbursements to Creditors            $ 130,236.83

TOTAL DISBURSEMENTS:                                          $ 177,254.49




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        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 04/24/2017                        By: /s/ Frederick L. Reigle, Esq.
                                               STANDING CHAPTER 13 TRUSTEE

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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